238 F.2d 238
    Anna PREISLER, Petitioner-Appellant,v.UNITED STATES, Respondent-Appellee.
    No. 31, Docket 24296.
    United States Court of Appeals Second Circuit.
    Argued Oct. 8, 1956.Decided Nov. 2, 1956.
    
      Matthew A. Campbell, New York City, for petitioner-appellant.
      Roy Babitt, Sp. Asst. U.S. Atty., Southern Dist. of N.Y., New York City (Paul W. Williams, U.S. Atty., S.D.N.Y., New York City, on the brief), for respondent-appellee.
      Before CLARK, Chief Judge, and HAND and SWAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      After considering the extensive evidence developed before a Naturalization Examiner and hearing the testimony of this petitioner for naturalization and her witnesses upon the controverted issue of the relations, business, financial and personal, between her and one of the witnesses, a married man, the trial judge concluded that she had not 'sustained the burden incumbent upon her of establishing good moral character during the period required by law.'  This seems to us the most favorable view towards her which the record permits and we are constrained to hold that she must be content with it.
    
    
      2
      Order affirmed.
    
    